                Case: STATES
              UNITED  25-1568 COURT
                               Document:
                                    OF 9APPEALS
                                           Page: 1FORDate
                                                      THE Filed:
                                                            THIRD04/08/2025
                                                                     CIRCUIT

                             CIVIL APPEAL INFORMATION STATEMENT

COUNSEL FOR APPELLANT: This statement is due to be filed with the Clerk of the Court of
Appeals not later than 14 days from the docketing of the notice of appeal.

SHORT CAPTION WITH IDENTITY OF APPELLANT:
___________________________________________________________________________________
Atlas Data Privacy Corp. et al. (Appellee)v. Zillow, Inc. et al. (Appellants)


APPEAL FROM DISTRICT COURT:
District:____________________________________________________________________________
          District of New Jersey
D.C. Docket No.:_____________________________________________________________________
                       1:24-cv-04256-HB
Date proceedings initiated in D.C.:_______________________________________________________
                                                 March 21, 2024
Date Notice of Appeal filed:____________________________________________________________
                                        March 31, 2025
USCA No.:_________________________________________________________________________
              25-1568
___________________________________________________________________________________
                                                      COUNSEL ON APPEAL
Appellant(s):_______________________________________________________________________
                  Zillow, Inc. and Zillow Group, Inc.
Name of Counsel:____________________________________________________________________
                        Samantha L. Southall of Buchanan Ingersoll & Rooney PC
Name of Party(ies):___________________________________________________________________
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                     215-665-8700
Fax No.:____________________________________________________________________________
E-mail:_____________________________________________________________________________
         samantha.southall@bipc.com; eservice@bipc.com


For Appellee(s): *List only the names of parties and counsel who will oppose you on appeal
Name of Counsel:____________________________________________________________________
                     Rajiv D. Parikh; Jessica A. Merejo; Kathleen B. Einhorn of PEM Law LLP
Name of Party(ies):___________________________________________________________________
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Name of Counsel:____________________________________________________________________
                  See attached addendum
Name of Party(ies):___________________________________________________________________
Address:___________________________________________________________________________
Telephone No.:______________________________________________________________________
Fax No.:____________________________________________________________________________
E-mail:_____________________________________________________________________________

Is this a Cross-Appeal?                  Yes        No ✔
Appeals Docket No.:__________________________________________________________________

Was there a previous appeal in case?        Yes        No ✔
If yes, Short Title:____________________________________________________________________
Appeals Docket No.:__________________________________________________________________
Citation, if reported:__________________________________________________________________
To your knowledge  Case:    25-1568
                        is there any caseDocument:
                                            now pending  9 or
                                                            Page:
                                                              about2 to beDate Filed:before
                                                                           brought    04/08/2025
                                                                                            this Court or any other
court or administrative agency which:
a) Arises from substantially the same case or controversy as this appeal?              Yes ✔         No ✔
b) Involves an issue that is substantially the same, similar, or related to an issue in this appeal?
                                                                                       Yes ✔         No
If you answered yes to either “a” or “b” please provide:
Case Name:_________________________________________________________________________
              See attached addendum of consolidated cases
D.C. Docket No.:_____________________________________________________________________
Court or Agency:_____________________________________________________________________
Docket Number:_____________________________________________________________________
Citation, if reported:__________________________________________________________________
___________________________________________________________________________________
                                                  NATURE OF SUIT
                                              (Check as many as apply)

1. FEDERAL STATUTES                                             ASSAULT/DEFAMATION
   ANTITRUST                                                    PRODUCT LIABILITY/WARRANTY
   BANKRUPTCY                                                   DIVERSITY
   BANKS & BANKING                                              OTHER Specify:______________________
   CIVIL RIGHTS
   COMMERCE, ROUTES, AND TARIFFS                             3. CONTRACTS
   COMMODITIES                                                  ADMIRALTY/MARITIME
   COMMUNICATIONS                                               ARBITRATION
   CONSUMER PROTECTION                                          COMMERCIAL
   COPYRIGHT                                                    EMPLOYMENT
   PATENT                                                       INSURANCE
   TRADEMARK                                                    NEGOTIABLE DISBURSEMENTS
   ELECTION                                                     OTHER Specify:______________________
   ENERGY
   ENVIRONMENTAL                                             4. PRISONER PETITIONS
   FOIA FREEDOM OF INFORMATION                                  CIVIL RIGHTS
   IMMIGRATION                                                  VACATE SENTENCE 2255
   LABOR                                                        HABEAS CORPUS 2254
   OSHA                                                         HABEAS CORPUS 2241
   SECURITIES                                                   MANDAMUS/PROHIBITION
   SOCIAL SECURITY                                              OTHER Specify:______________________
   TAX
   EQUAL ACCESS TO JUSTICE                                   5. OTHER
   OTHER Specify:______________________                         FORFEITURE
                                                                CIVIL GRAND JURY
2. TORTS                                                        TREATY Specify:_____________________
   ADMIRALTY                                                  ✔ OTHER Specify:______________________
                                                                              NJSA 56:8-166.1, et seq.


This is to certify that this civil appeal information statement was filed with the Clerk of the U.S. Court
of Appeals for the Third Circuit and a copy hereof served to each party or their counsel of record this
_____
8th    day of ____________________,
                April                       20_____
                                               25    .

                     /s/ Samantha L. Southall
Signature of Counsel:_________________________________________________________________
         Case: 25-1568      Document: 9     Page: 3      Date Filed: 04/08/2025




          ADDENDUM TO CIVIL APPEAL INFORMATION STATEMENT
                           (FOR NO. 25-1568)

Counsel on Appeal (cont. from page 1 of Civil Appeal Information Statement):

For Appellee(s):

Name of Counsel:           Adam R. Shaw; Mark C. Mao; Eric M. Palmer;
                           Samantha D. Parrish of Boies Schiller Flexner LLP
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          Case: 25-1568      Document: 9        Page: 4      Date Filed: 04/08/2025




Other Pending Cases (cont. from page 2 of Civil Appeal Information Statement):

Case Name:           Atlas Data Privacy Corp., et al. v. We Inform, LLC, et al.
D.C. Docket No.:     1:24-cv-4037-HB
Court or Agency:     United States District Court for the District of New Jersey
Docket No.:          25-1555

Case Name:           Atlas Data Privacy Corp. et al. v. Infomatics, LLC, et al.
D.C. Docket No.:     1:24-cv-4037-HB
Court or Agency:     United States District Court for the District of New Jersey
Docket No.:          25-1556

Case Name:           Atlas Data Privacy Corp., et al. v. The People Searchers, LLC
D.C. Docket No.:     1:24-cv-4045-HB
Court or Agency:     United States District Court for the District of New Jersey
Docket No.:          25-1557

Case Name:           Atlas Data Privacy Corp., et al. v. DM Group, Inc. et al.
D.C. Docket No.:     1:24-cv-04075-HB
Court or Agency:     United States District Court for the District of New Jersey
Docket No.:          25-1558

Case Name:           Atlas Data Privacy Corp., et al. v. Deluxe Corporation, et al.
D.C. Docket No.:     1:24-cv-4080-HB
Court or Agency:     United States District Court for the District of New Jersey
Docket No.:          25-1559

Case Name:           Atlas Data Privacy Corp., et al. v. Quantarium Alliance, LLC
D.C. Docket No.:     1:24-cv-4098-HB
Court or Agency:     United States District Court for the District of New Jersey
Docket No.:          25-1560

Case Name:           Atlas Data Privacy Corp., et al. v. Yardi Systems, Inc., et al.
Docket No.:          1:24-cv-4103-HB
Court or Agency:     United States District Court for the District of New Jersey
Docket No.:          25-1561

Case Name:           Atlas Data Privacy Corp., et al. v. Digital Safety Products, LLC
D.C. Docket No.:     1:24-cv-4141-HB
Court or Agency:     United States District Court for the District of New Jersey
Docket No.:          25-1562

Case Name:           Atlas Data Privacy Corp., et al. v. Civil Data Research
D.C. Docket No.:     1:24-cv-04143-HB
Court or Agency:     United States District Court for the District of New Jersey
Docket No.:          25-1563
          Case: 25-1568    Document: 9       Page: 5      Date Filed: 04/08/2025




Case Name:         Atlas Data Privacy Corp., et al. v. Scalable Commerce, LLC
D.C. Docket No.:   1:24-cv-04160-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1564

Case Name:         Atlas Data Privacy Corp., et al. v. Labels & Lists, Inc.
Docket No.:        1:24-cv-4174-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1565

Case Name:         Atlas Data Privacy Corp., et al. v. Innovis Data Solutions Inc.,
D.C. Docket No.:   1:24-cv-4176-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1566

Case Name:         Atlas Data Privacy Corp., et al. v. Accurate Append, Inc.
D.C. Docket No.:   1:24-cv-4178-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1567

Case Name:         Atlas Data Privacy Corp., et al. v. Equimine, Inc., et al.
Docket No.:        1:24-cv-04261 -HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1569

Case Name:         Atlas Data Privacy Corp., et al. v. Thomson Reuters Corp.
D.C. Docket No.:   1:24-cv-04269-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1570

Case Name:         Atlas Data Privacy Corp., et al. v. Melissa Data Corp., et al.
D.C. Docket No.:   1:24-cv-4292-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1571

Case Name:         Atlas Data Privacy Corp., et al. v. Restoration of America, et al.
D.C. Docket No.:   1:24-cv-4324-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1572

Case Name:         Atlas Data Privacy Corp., et al. v. i360, LLC, et al.
Docket No.:        1:24-cv-4345-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1573
          Case: 25-1568    Document: 9       Page: 6      Date Filed: 04/08/2025




Case Name:         Atlas Data Privacy Corp., et al. v. GoHunt, LLC, et al.
D.C. Docket No.:   1:24-cv-04380-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1574

Case Name:         Atlas Data Privacy Corp., et al. v. Accuzip, Inc.
D.C. Docket No.:   1:24-cv-4383-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1575

Case Name:         Atlas Data Privacy Corp., et al. v. Synaptix Technology, LLC
D.C. Docket No.:   1:24-cv-4385-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1576

Case Name:         Atlas Data Privacy Corp., et al. v. Joy Rockwell Enter., Inc.
Docket No.:        1:24-cv-4389-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1577

Case Name:         Atlas Data Privacy Corp., et al v. Fortnoff Financial, LLC,
D.C. Docket No.:   1:24-cv-04390-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1578

Case Name:         Atlas Data Privacy Corp., et al. v. MyHeritage, Ltd., et al.
D.C. Docket No.:   1:24-cv-4392-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1579

Case Name:         Atlas Data Privacy Corp., et al v. E-Merges.com, Inc.
D.C. Docket No.:   1:24-cv-4434-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1580

Case Name:         Atlas Data Privacy Corp., et al. v. Nuwber, Inc., et al.
Docket No.:        1:24-cv-04609-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1581

Case Name:         Atlas Data Privacy Corp., et al. v. RocketReach LLC, et al.
D.C. Docket No.:   1:24-cv-4664-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1582
          Case: 25-1568    Document: 9       Page: 7      Date Filed: 04/08/2025




Case Name:         Atlas Data Privacy Corp., et al v. Belles Camp Comm., Inc.,
D.C. Docket No.:   1:24-cv-04949-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1583

Case Name:         Atlas Data Privacy Corp., et al v. PropertyRadar, Inc., et al.
D.C. Docket No.:   1:24-cv-5600-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1584

Case Name:         Atlas Data Privacy Corp., et al. v. The Alesco Group, L.L.C.
Docket No.:        1:24-cv-5656-MB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1585

Case Name:         Atlas Data Privacy Corp., et al v. Searchbug, Inc.
D.C. Docket No.:   1:24-cv-05658-MB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1586

Case Name:         Atlas Data Privacy Corp., et al. v. Amerilist, Inc., et al.
D.C. Docket No.:   1:24-cv-05775-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1587

Case Name:         Atlas Data Privacy Corp., et al. v. US Data Corporation, et al.
D.C. Docket No.:   1:24-cv-7324-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1588

Case Name:         Atlas Data Privacy Corp., et al. v. Smarty, LLC, et al.
Docket No.:        1:24-cv-8075-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1589

Case Name:         Atlas Data Privacy Corp., et al. v. Compact Inform. Sys., LLC
D.C. Docket No.:   1:24-cv-8451-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1590

Case Name:         Atlas Data Privacy Corp., et al. v. Darkowl, LLC, et al.
D.C. Docket No.:   1:24-cv-10600-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1591
         Case: 25-1568     Document: 9       Page: 8      Date Filed: 04/08/2025




Case Name:         Atlas Data Privacy Corp., et al. v. Spy Dialer, Inc.
D.C. Docket No.:   1:24-cv-11023-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1592

Case Name:         Atlas Data Privacy Corp., et al. v. Lighthouse List Co., LLC
D.C. Docket No.:   1:24-cv-11443-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1593
